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Deposition of Dawn Heikkila 30(b)(6)                                               Jenna Clark v. Carmine Marceno


   1                               UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
   2

   3
          JENNA CLARK,
   4
                 Plaintiff,
   5                                                      CASE NO.: 2:22-cv-614-SPC-NPM
          v.
   6
          CARMINE MARCENO, in
   7      his official capacity
          as Sheriff of Lee
   8      Country, Florida,
   9          Defendant.
          ----------------------/
 10
                                           ZOOM DEPOSITION OF
 11
                                                DAWN HEIKKILA
 12
                                   TAKEN ON BEHALF OF PLAINTIFF
 13

 14
          DATE TAKEN:                  Wednesday, October 11, 2023
 15
          TIME:                         10 a.m. to 11:15 a.m.
 16
          PLACE:                        All parties appeared via videoconference
 17

 18

 19

 20

 21

 22
                       Examination of the witness taken before:
 23
                                        Julie S. Evans
 24                            Court Reporter and Notary Public
 25

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   1      APPEARANCES:
   2      KYLE T. MACDONALD, ESQUIRE (via Zoom)
          Derek Smith Law Group, PLLC
   3      520 Brickell Key Dr.
          Suite O-301
   4      Miami, Florida 33131
   5               On behalf of the Plaintiff.
   6      DAVID J. STEFANY, ESQUIRE (via Zoom)
          Allen Norton & Blue, P.A.
   7      324 South Hyde Park Avenue
          Suite 225
   8      Tampa, Florida 33606-4128
   9               On behalf of the Defendant.
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                                                   - - - - -
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   1                                        EXAMINATION INDEX
   2      ZOOM TESTIMONY OF DAWN HEIKKILA
               DIRECT BY MR. MACDONALD                                                                  4
   3
          CERTIFICATE OF OATH                                                                         44
   4
          CERTIFICATE OF REPORTER                                                                     45
   5

   6
                                               EXHIBIT INDEX
   7
          Plaintiff's
   8       1      Notice of Taking Deposition                                                         7
   9
                                                   - - - - -
 10
                                       S T I P U L A T I O N S
 11
                           It is hereby agreed and so stipulated by and
 12
          between the parties hereto, through their respective
 13
          counsel, that the reading and signing of the transcript
 14
          are hereby waived.
 15
                                                 - - - - -
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   1                                    P R O C E E D I N G S
   2                       THE COURT REPORTER:                  Today is Wednesday,
   3             October 11, 2023.                 The time is approximately
   4             10 a.m. this is the Zoom deposition of Dawn
   5             Heikkila, being taken in the matter of Clark v.
   6             Carmine Marceno, pending in the United States
   7             District Court.               Will counsel please state their
   8             appearance, beginning with Plaintiff's counsel.
   9                       MR. MACDONALD:              This is Kyle Mac Donald for the
 10              Plaintiff, Jennifer Clark.
 11                        MR. STEFANY:            David Stefany, for Sheriff
 12              Carmine Marceno.
 13                  THE COURT REPORTER:                   Please raise your right
 14              hand.         Do you solemnly swear or affirm your
 15              testimony will be the truth, the whole truth,
 16              nothing but the truth, so help you God?
 17                  THE WITNESS:             Yes, I do.
 18       THEREUPON:
 19                                           DAWN HEIKKILA,
 20       having first been duly sworn, testified as follows:
 21                                       DIRECT EXAMINATION
 22       BY MR. MACDONALD:
 23              Q.        Good morning.             My name is Kyle MacDonald, and I
 24       represent Jenna Clark in her lawsuit against Carmine
 25       Marceno in his official capacity as Sheriff of Lee

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   1      County, Florida.                Thank you for being here today.
   2             A.        Sure, no problem.
   3             Q.        Can you please start by stating your full name,
   4      for the record.
   5             A.        Dawn Marie Heikkila.
   6             Q.        Have you ever been deposed before,
   7      Ms. Heikkila?
   8             A.        Yes, I have.
   9             Q.        And when were you deposed previously?
 10              A.        It's been years, years ago.
 11              Q.        Okay.       Even though you've been deposed before,
 12       I'm just going to go over a few things so we're on the
 13       same page.             Okay?
 14              A.        Okay.
 15              Q.        Do you understand that you've been placed under
 16       oath and that you have the obligation to testify
 17       truthfully today?
 18              A.        Yes, I do.
 19              Q.        And do you understand even though we are
 20       conducting this deposition via Zoom, you have the same
 21       -- sorry -- your testimony has the same force and effect
 22       as if you were testifying in a court of law, before a
 23       judge and jury?
 24              A.        Yes, I do.
 25              Q.        Now, the court reporter cannot transcribe

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   1      inaudible responses like a gesture or a shrug, so please
   2      just make sure you respond clearly, just as you have
   3      been.        Okay?
   4             A.        Yes.
   5             Q.        And the court reporter also cannot accurately
   6      reflect our responses if we are speaking at the same
   7      time, so I will wait until you finish your answer, and
   8      I'd just ask that you wait until I finish my questions.
   9      Okay?
 10              A.        Okay.
 11              Q.        Now, we want to ensure we're getting your best
 12       testimony, so if you do not understand a question or
 13       something seems confusing, just let me know and I can
 14       try to rephrase the question for you.                                   Okay?
 15              A.        Okay.
 16              Q.        If you need to take a break at any point, to
 17       get a glass of water, use the bathroom, anything like
 18       that, just let me know, and we can go ahead and take a
 19       break.         Okay?
 20              A.        Okay.
 21              Q.        Do you understand that you are here today to
 22       testify on behalf of the Lee County Sheriff's Office?
 23              A.        Yes.
 24              Q.        And do you understand that your answers are
 25       based not only on your personal knowledge but also all

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   1      knowledge known or reasonably available to the Lee
   2      County Sheriff's Office?
   3             A.        Yes.
   4             Q.        And do you understand that your answers will be
   5      binding on the Lee County Sheriff's Office?
   6             A.        Yes.
   7             Q.        I'm going to share my screen with you.                            This
   8      has been previously marked as Plaintiff's Exhibit 1.
   9      Have you seen this document before?
 10              A.        Yes.        (Document was scrolled through.)                      Yes.
 11              Q.        And are you prepared today to testify regarding
 12       the topics listed in paragraphs 3 and 4?
 13              A.        Yes.
 14              Q.        And are you prepared to testify regarding the
 15       topic listed in paragraph 11?
 16              A.        Yes.
 17              Q.        And are you prepared to testify regarding the
 18       topics listed in paragraphs 16 through 24?                                And I can
 19       scroll.
 20              A.        Yes.
 21              Q.        And are you prepared to testify regarding the
 22       topics listed in paragraphs 26 and 30?
 23              A.        Yes.
 24              Q.        Where are you conducting this deposition today
 25       from?

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   1             A.        My home.
   2             Q.        Is anyone else in the room with you?
   3             A.        No.
   4             Q.        Do you have any documents in front of you?
   5             A.        Yes.
   6             Q.        And what documents are those?
   7             A.        The one you just showed me.
   8             Q.        Any other documents, besides that deposition
   9      notice?
 10              A.        I have a notebook that I can take notes on, if
 11       I need to; I have a couple of other letters that -- I
 12       have a couple of other letters that I pulled up, you
 13       know, that were pertaining to these numbers that I can
 14       reference.
 15              Q.        Okay.
 16              A.        Or documents, whatever, yeah.
 17              Q.        Can you tell me specifically which letters you
 18       have?
 19              A.        Oh, I have the letter that I sent to Jenna,
 20       notifying her that we were -- of the Reduction in Force
 21       and I have the subpoena notice and I have the Zoom link
 22       notice.
 23              Q.        What did you do to prepare for today's
 24       deposition?
 25              A.        I looked through this packet of questions that

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   1      you -- or that was sent to me, to familiarize myself in
   2      what was going to be asked or what I needed to, you
   3      know, be prepared for.
   4             Q.        Did you speak with anyone besides the attorney
   5      for the Lee County Sheriff's Office about your
   6      deposition today?
   7             A.        No.
   8             Q.        Are you familiar with my client, Jenna Clark?
   9             A.        Yes.
 10              Q.        Do you know how long Jenna Clark worked at the
 11       Lee County Sheriff's Office for?
 12              A.        Twenty-plus years; I don't know the exact
 13       number, offhand.
 14              Q.        What position did Jenna Clark hold when she
 15       left the Lee County Sheriff's Office?
 16              A.        Director of purchasing.
 17              Q.        And what did Ms. Clark do, as the director of
 18       purchasing?
 19              A.        She managed all the uniforms and all the
 20       supplies that the Sheriff's Office needed, everything
 21       that we purchased as an agency went through Purchasing;
 22       and she held our warehousing, you know, of all the stock
 23       that we kept on hand; that was her responsibility.
 24              Q.        Any other duties you can think of, besides the
 25       ones that you just described?

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   1             A.        I'm sure there are many, but not that I can
   2      think of, in particular.
   3             Q.        Did Jenna Clark receive any benefits as part of
   4      her employment with Lee County Sheriff's Office?
   5             A.        Yes.
   6             Q.        What kind of benefits did Ms. Clark receive as
   7      part of her employment?
   8             A.        Aside from her salary, she would have received
   9      sick, vacation, and personal time; health benefits/
 10       health insurance; retirement benefits; those were all
 11       provided for her.                 And then, any other benefits she
 12       choose to purchase she could have done that, as well.
 13       There were additional things offered; I don't know if
 14       she purchased them or not.
 15              Q.        What were the different types of leave benefits
 16       available to Ms. Clark?                      I believe you mentioned a few
 17       of those briefly.
 18              A.        Paid leaves are sick, vacation, and personal.
 19              Q.        You said those are sick, vacation, and
 20       personal; correct?
 21              A.        Correct.
 22              Q.        How much sick leave was afforded to Ms. Clark,
 23       as part of her employment?
 24              A.        Over her entire career?                     Or -- I don't
 25       understand your question.

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   1             Q.        Let me rephrase.                 So in the last year of Jenna
   2      Clark's employment, how much sick leave was she
   3      afforded, as an employee of Lee County Sheriff's Office?
   4             A.        Can I look it up?                 Because I don't have it in
   5      my head.
   6             Q.        In terms of looking it up, do you mean like a
   7      policy handbook for the Lee County Sheriff's Office?
   8             A.        Sure, yeah.            Because, you know, she accrues
   9      different amounts of time based on her tenure.                                   So I
 10       don't remember, anymore, the number of hours she would
 11       have accrued per pay period for a twenty-year-plus
 12       employee.
 13              Q.        Okay.        So it depends on the length of service
 14       for an employee of Lee County Sheriff's Office?
 15              A.        Yes.        It increases as you -- I think it's ten
 16       and twenty years, it increases; not personal, but sick
 17       and vacation.
 18              Q.        And what can the sick leave benefits be used
 19       for?
 20              A.        For their own personal sickness, for the
 21       sickness of an immediate family member, to go to the
 22       doctor, things like that.
 23              Q.        And I know you said you can't recall the
 24       specific amount of sick leave that Jenna Clark was
 25       afforded.            But do you have any idea, generally, of what

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   1      the scale looks like, in terms of sick leave benefits
   2      afforded to Lee County Sheriff's Office employees?
   3             A.        I know that they accrue per paycheck; so every
   4      time they get paid, they accrue additional hours in both
   5      sick bay and personal time, depending on where they're
   6      at in that tenure.
   7             Q.        Does vacation time accrue in the same manner
   8      that you just described?
   9             A.        It does.
 10              Q.        Do you recall how much vacation time Jenna
 11       Clark was afforded during her last year of employment
 12       with the Lee County Sheriff's Office?
 13              A.        I do not.
 14              Q.        Do you have any idea what the scale looks like,
 15       generally, for vacation time afforded to employees of
 16       Lee County Sheriff's Office?
 17              A.        I don't understand that question, "scale."
 18              Q.        So just speaking generally, in terms of the
 19       vacation time that's afforded to Lee County Sheriff's
 20       Office employees, do you have any idea what the range is
 21       that's afforded to employees, in terms of the leave
 22       that's given to them?
 23              A.        Everybody accrues the same amount based on
 24       their tenure; so every person, it would depend on their
 25       years of service and where they fall in that, you know,

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   1      category.            So but everybody accrues the same, in terms
   2      of that.
   3             Q.        And what can vacation leave be used for?
   4             A.        If it's requested and approved, it can be used
   5      for basically anything someone wants to do, away from
   6      the office.
   7             Q.        How much personal leave time was afforded to
   8      Jenna Clark during her last year of employment with Lee
   9      County Sheriff's Office?
 10              A.        Well, every civilian employee would receive 100
 11       hours per year, and most of -- for the -- for most of
 12       her career, it would have been 50 hours in January and
 13       50 hours in July.                 There were a number of years, in
 14       between there, that they started doing just 100, you
 15       know, all together.                  But I don't recall what years those
 16       were.        Either way, it would have been -- if she stayed
 17       the entire year or if she was there just through July,
 18       you know, it would have been 100, just like all the
 19       other civilian employees.
 20              Q.        And for each of these types of leave -- for the
 21       sick leave, vacation leave, and personal leave -- what
 22       is the request process, if an employee wants to use
 23       those benefits?
 24              A.        They would need to speak to their supervisor
 25       and enter the request into the time keeping system, VCS.

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   1             Q.        And that's for each of those three different
   2      types of leave?
   3             A.        Correct.
   4             Q.        Once an employee enters a request into VCS, who
   5      does that request go to, for approval?
   6             A.        Their immediate supervisor.
   7             Q.        Who would have Jenna Clark's requests have gone
   8      to, during her last year of employment with Lee County
   9      Sheriff's Office, in VCS?
 10              A.        Annmarie Reno.
 11              Q.        And you said, in addition to submitting the
 12       request to VCS, an employee was also required to speak
 13       with their supervisor regarding their request?
 14              A.        Well, they would -- if they can't enter it,
 15       let's say, because you're talking sick, vacation, and
 16       personal, sometimes if someone is sick, they're not able
 17       to enter in the VCS; that's when they would need to
 18       speak to their supervisor.                        They could just speak to
 19       their supervisor, but it has to be entered in the VCS as
 20       well, at some point.
 21              Q.        Was Jenna Clark entitled to FMLA benefits, as
 22       part of her employment with the Lee County Sheriff's
 23       Office?
 24              A.        Yes.
 25              Q.        What was the process for Jenna Clark to use her

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   1      FMLA benefits, during the last year of her employment
   2      with the Lee County Sheriff's Office?
   3             A.        All she had to do was qualify.
   4             Q.        And how does an employee qualify?
   5             A.        By working 1250 hours in 12 months and having a
   6      personal health condition that her doctor would certify
   7      as qualifying.
   8             Q.        And was Jenna Clark required to submit a
   9      request to use her FMLA benefits?
 10              A.        She was not required, no.
 11              Q.        Did Jenna Clark need to inform anyone, if she
 12       wanted to use her FMLA leave benefits?
 13              A.        No.
 14              Q.        Did Lee County Sheriff's Office have any kind
 15       of FMLA policy in place regarding the use of those
 16       benefits?
 17              A.        Yes.
 18              Q.        Can you tell me about those.
 19              A.        Just that they exist and explaining to the
 20       employees what the regulations are for FMLA, what's a
 21       serious health condition, some guidelines on how they
 22       can go about, you know, using those benefits.                                 Yeah,
 23       just so they know it exists and that it's there for
 24       them; who to contact, you know, your supervisor, HR,
 25       Risk Management, things like that, if they want to do

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   1      that or need to or have questions, what have you.
   2             Q.        Did Jenna Clark ever submit any FMLA requests
   3      between 2018 and the last date of her employment?
   4             A.        I believe she was on FMLA during the last
   5      several years.                 I don't recall if she actually submitted
   6      a request or if she just notified her supervisor that
   7      she needed, you know, to be out for a qualifying event.
   8             Q.        If Ms. Clark did submit an FMLA leave request,
   9      who would that go to in the Lee County Sheriff's Office?
 10              A.        It could go to her supervisor; but, ultimately,
 11       it would need to go to Risk Management.
 12              Q.        And who in Risk Management would handle that
 13       request?
 14              A.        Well, over the years, there have been many
 15       people; but in her last year, it would have been Amy
 16       Hurts (ph).
 17              Q.        And what was Amy Hurts' title, if you recall,
 18       during that last year of Ms. Clark's employment?
 19              A.        Risk management analyst, I believe.
 20              Q.        Did Jenna Clark ever submit an FMLA leave
 21       request to you, personally?
 22              A.        No.         Not that I recall an official request, no.
 23       We spoke about FMLA but, you know, not a document
 24       requesting it.
 25              Q.        When did you speak with Ms. Clark regarding

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   1      FMLA leave?
   2             A.        Let's see if I have that date in front of me
   3      with this -- I don't think I have that.                                 But I spoke
   4      with her when she needed to go out for her last
   5      qualifying event; I guess that would have been in 2021.
   6             Q.        And was this a conversation in person, or was
   7      this an email?
   8             A.        It was -- it was not in person; it was over the
   9      phone, and we emailed back and forth some.
 10              Q.        And what did you discuss on the phone with
 11       Ms. Clark?
 12              A.        Well, in -- she had told Annmarie that she
 13       needed to be out, and Annmarie had approved her time --
 14       you know, her being away from the office; and then
 15       Annmarie told her to touch base with me or with Risk
 16       Management, to let us know, in case she needed to be out
 17       longer than the initial 7 days that they had discussed.
 18                        And so she did that; she reached out to me, to
 19       let me know that she was going to be out.                                 And I
 20       discussed with her the number of days that she would be
 21       out, which is what I would always do, to determine what
 22       we needed to do on our end.                         So that's it; I gave her
 23       instructions on that, you know, and that was it.
 24              Q.        Why did Annmarie Reno instruct Ms. Clark to
 25       discuss with you regarding the FMLA leave?

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   1             A.        Just to make me aware that she was going to be
   2      out and if there was potential -- if she needed to be
   3      out longer, then we would have activated an FMLA leave
   4      for her.           So I would monitor and, you know, make sure
   5      she returned to work basically, within the amount of
   6      time she said she was going to.
   7             Q.        Now why would Annmarie Reno refer her to you,
   8      as opposed to Risk Management?
   9             A.        I can't answer that; maybe... I don't know, I'm
 10       the director.                You know, it wasn't uncommon to say,
 11       "Hey, get with Dawn, let her know; and then Dawn will
 12       let her folks know, or Dawn will monitor."                                I mean,
 13       she's a director, I'm a director.                               I can't answer for
 14       Annmarie, but that's what I would assume.
 15              Q.        Now, you also mentioned the number of days in
 16       regards to Ms. Clark's FMLA leave requests.                                 What did
 17       the number of days have to do with the requests?
 18              A.        Just an internal practice that we had, that if
 19       someone is going to be out 7 days or less, we didn't
 20       require them -- you know, if we knew, if we were
 21       familiar enough with their situation, they had shared
 22       enough information with us that we knew it would be a
 23       qualifying event; and/or we were willing to, you know,
 24       approve the time away from work, with or without the
 25       position certification, we wouldn't require them to do

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   1      all the paperwork involved in FMLA.                                You know, 7 days,
   2      by the time you get all that paperwork together, you're
   3      back to work, so we didn't -- you know, when they're
   4      sick or they're going through something already, we just
   5      didn't feel it was necessary.
   6                       So it became an internal practice of ours, that
   7      7 days or less, we felt that was a time that, if we had
   8      enough information, we would just approve their leave
   9      and let them take care of what they needed to take care
 10       of.      And as long as they returned, then we wouldn't
 11       require all the additional paperwork that FMLA involves.
 12              Q.        And was that always the case if the leave were
 13       for less than 7 days, or did it depend on the
 14       circumstances of the employee?
 15              A.        I mean, it always depends on what the employee
 16       shares with you, as an employer.                             If they share enough
 17       information about their health condition that you have
 18       no question about them being out, then -- and about the
 19       FMLA, then, you know.                    Or if you have -- if the
 20       supervisor is just willing to approve the time away
 21       because it's such a short amount of time.                               Our policy
 22       says a supervisor can approve up to three weeks without
 23       upper level approval.                    So, yeah, it's -- it's common
 24       practice for us to do that without additional paperwork.
 25              Q.        And for Jenna Clark, would that decision be

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   1      left up to you, or would it be left up to Annmarie Reno
   2      as to whether that paperwork would be required?
   3             A.        It was left up to me.
   4             Q.        And did you require Ms. Clark to submit the
   5      paperwork for that instance when she spoke to you about
   6      leave?
   7             A.        I did not.
   8             Q.        And that was because the leave was for less
   9      than 7 days?
 10              A.        And because she shared with me enough
 11       information about her health condition that I knew it
 12       would qualify, and if she needed additional time, then
 13       the FMLA would be applied.
 14              Q.        If an employee takes leave for less than those
 15       7 days, what is it classified as, in terms of leave
 16       benefits?
 17              A.        It depends on what the employee asks for and
 18       what the situation is; you know, according to policy,
 19       there are certain leaves that are sick leaves and
 20       certain leaves that are other.                            So if they shared enough
 21       information with the supervisor and they followed
 22       policy, that would dictate what kind of leave they were
 23       using.
 24              Q.        In that instance, when Jenna Clark spoke to you
 25       regarding the leave request, what was that leave

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   1      classified as, if not FMLA leave?
   2             A.        She spoke to me about her need to be away from
   3      the office; she did not speak to me about what kind of
   4      pay or what kind of leave she would use.                                That would
   5      have -- she did not speak to me about that.
   6             Q.        Who would make the determination for Ms. Clark
   7      as to what kind of leave that would be classified as?
   8             A.        I suppose the person doing their time sheet; so
   9      more than likely, that person and their immediate
 10       supervisor is who has to approve it.
 11              Q.        And in terms of what the leave could be
 12       classified as, does it fall into those three categories
 13       that we previously discussed: sick leave, vacation, or
 14       personal time?
 15              A.        If they have available to them those three, one
 16       of those three times, then, yes, it could.                                Mm-hm.
 17              Q.        If an employee was to take leave under the FMLA
 18       for less than 7 days, was there a limit on the amount of
 19       time, let's say, that an employee could do that, or was
 20       that discretionary with the supervisor?
 21              A.        Was there a limit?                 No.
 22              Q.        What is "admin leave with pay"?
 23              A.        It's something that the agency uses to pay an
 24       employee to be out and where it does not involve using
 25       any of their accrued time; paid by the agency,

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   1      essentially.
   2             Q.        And when would admin leave with pay be used for
   3      an employee?
   4             A.        That could be used for anything that the
   5      sheriff wanted to use it for.
   6             Q.        And who determines if admin leave with pay
   7      could be used for an employee?
   8             A.        The sheriff or his designee.
   9             Q.        Do you know if Jenna Clark was ever placed on
 10       admin leave with pay, from 2018 until the last date of
 11       her employment?
 12              A.        She was.
 13              Q.        And do you recall when that was, roughly, that
 14       she was placed on admin leave with pay?
 15              A.        It was when we notified her of the Reduction in
 16       Force.
 17              Q.        And who made the decision to place Ms. Clark on
 18       the admin leave with pay, at that time?
 19              A.        You know, I'm not sure; I know who told me to
 20       do it, but I'm not sure whose decision that would have
 21       been.
 22              Q.        And who told you to do that?
 23              A.        Annmarie Reno.
 24              Q.        Was this in person that Annmarie Reno asked you
 25       to do that, or was this an email?

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   1             A.        It would have been over the phone.
   2             Q.        Do you remember when that roughly was, that
   3      phone call with Ms. Reno?
   4             A.        It was the day before or the day of the letter
   5      that was written; and so it looks like the letter -- I
   6      have the letter here, August 15 of '21.
   7             Q.        Is there a limit on the amount of admin leave
   8      with pay that an employee can use?
   9             A.        Not that I'm aware of.
 10              Q.        Are you aware of any other instances where
 11       Ms. Clark used admin leave with pay, besides that time
 12       before she was sent the letter?
 13              A.        No.
 14              Q.        When you spoke with Ms. Reno regarding the
 15       admin leave with pay, was anything else discussed on
 16       that phone call?
 17              A.        Just what she wanted me to put in the letter,
 18       what was happening, and -- yes, what relevant
 19       information I needed for notifying Jenna.
 20              Q.        Did Jenna Clark receive any pension benefits,
 21       as part of her employment with the Lee County Sheriff's
 22       Office?
 23              A.        She did.
 24              Q.        Can you tell me about the pension benefits.
 25              A.        Sure.       What do you need to know?

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   1             Q.        Well, what are the pension benefits of the Lee
   2      County Sheriff's Office?
   3             A.        Well, pension benefits are something that, once
   4      you -- when you start working for an agency that, you
   5      know, in the Florida pension system, you become -- and
   6      once you've become -- gosh, the word.                                    Anyway, after a
   7      period of time, like she did, you receive a benefit for
   8      your lifetime; that's what the pension is.
   9                       And so a civilian, you know, there's a
 10       multiplier involved, and it involves your salary, your
 11       high five years of salary, and your -- and/or your age,
 12       your number of years of service, things like that.                                           And
 13       there's a calculation that is done by the Florida
 14       Retirement System for -- to determine what your -- what
 15       that dollar value would be; it's paid monthly for the
 16       rest of your life.
 17              Q.        And does the time at which an employee retires
 18       impact the amount of pension benefits that are paid to
 19       them?
 20              A.        Does the what?
 21              Q.        Does the amount of time or amount of years of
 22       service that an employee has worked at the Lee County
 23       Sheriff's Office impact the amount of pension benefits
 24       that are paid to them?
 25              A.        Yes.        Their years of service is part of the

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   1      multiplier.
   2             Q.        And is there a certain length of time that
   3      employees have to reach, to get the full pension
   4      benefits?
   5             A.        "Vesting" was the term that I was having a hard
   6      time with; once they're vested, they own whatever
   7      benefits they earn, and so, no.                               I mean, once they're
   8      vested, it's just, you apply that formula and that's how
   9      your pension benefits are determined.
 10              Q.        Do the pension benefits continue to increase
 11       with years of service, or is there a cap, at some point,
 12       in the amount of years of service that an employee has
 13       worked?
 14              A.        No.         That's part of the multiplier; that's part
 15       of the formula, the years of service; so whatever that
 16       number is, is applied to the formula.
 17              Q.        Were you involved in administering pension
 18       benefits at the Lee County Sheriff's Office?
 19              A.        Well, involved in administering -- Florida
 20       Retirement System is who administers the pension
 21       benefits.
 22              Q.        Did you have any involvement in employees using
 23       the Florida Retirement System?
 24              A.        I mean, they go directly to the Florida
 25       Retirement System.                    They have a log-in; they have a

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   1      phone number.                So I mean, they go directly to that.
   2      They don't have to go through me.
   3             Q.        Do you know if Ms. Clark was eligible for her
   4      full pension benefits, when she left the Lee County
   5      Sheriff's Office?
   6                       MR. STEFANY:             I'm going to object to the form.
   7             You may answer it.
   8                       THE WITNESS:             She was vested.
   9      BY MR. MACDONALD:
 10              Q.        Vested, meaning that she was entitled to some
 11       pension benefits?
 12              A.        Correct.          Yes.
 13              Q.        Would Ms. Clark have seen an increase in her
 14       pension benefits if she had remained at the Lee County
 15       Sheriff's Office?
 16              A.        Yes.
 17              Q.        Do you know if there are any penalties for
 18       early retirement, under the Florida Retirement System?
 19              A.        There are penalties for taking your pension,
 20       for distribution, if you have not met the years of
 21       service or the age requirement.
 22              Q.        And do you know what the years of service
 23       requirement was for the Lee County Sheriff's Office to
 24       not have that penalty when you retire?
 25              A.        For Jenna; correct?

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   1             Q.        Yes, for Jenna Clark.
   2             A.        For Jenna, 30 years of service would have been
   3      for her class of employee.
   4             Q.        And you said there was an age requirement, as
   5      well?
   6             A.        It's an and/or; 30 years, or age 62, whichever
   7      comes first.
   8             Q.        And do you know what the penalty is if you do
   9      not hit one of those two criteria when you retire?
 10              A.        Yes.        The penalty is 5 percent a year -- let me
 11       think; let me be sure.                      5 percent a year for every year
 12       that you leave prior to, yes.
 13              Q.        Did Ms. Clark receive -- sorry, strike that.
 14                        Did Ms. Clark reach 30 years of service with
 15       the Lee County Sheriff's Office, as required?
 16              A.        She did not.
 17              Q.        And Ms. Clark would have received a penalty
 18       under the Florida Retirement System, as a result;
 19       correct?
 20              A.        If she would have separated employment and
 21       drawn her pension, taken a distribution, then yes, the
 22       formula would have involved a penalty.
 23              Q.        Are you able to separate from employment with
 24       the Lee County Sheriff's Office and not draw the
 25       pension?

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   1             A.        You are, yes.
   2             Q.        How does eligibility for that 30 years of
   3      service work, if you're separated and don't draw the
   4      pension?
   5             A.        I think what you're asking is, how do you avoid
   6      the penalty?
   7             Q.        Yes.        Let's say you're separated, but you don't
   8      draw the pension.
   9             A.        You wait until you're age 62 to draw the
 10       pension, and then there's no penalty.
 11              Q.        Under those pension benefits, are you able to
 12       work and have employment in, let's say, a different
 13       position?
 14              A.        What exactly do you mean?
 15              Q.        So if an employee of the Lee County Sheriff's
 16       Office was to draw their pension, are they able to have
 17       employment?
 18              A.        Yes.
 19              Q.        During Ms. Clark's employment, was she ever
 20       disciplined, as far as you're aware?
 21              A.        I believe one time she might have -- I don't
 22       know that I would call it discipline; I would call it,
 23       maybe, counseling.                   I'm not aware of any discipline, but
 24       I believe it was maybe just a counseling session.
 25              Q.        What do you recall about that counseling?

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   1             A.        Well, Annmarie was talking to me about it, and
   2      it was just that she had to have a conversation with
   3      Jenna regarding something that Jenna had done that had
   4      upset one of her subordinates.
   5             Q.        Do you remember, roughly, when this was?
   6             A.        I do not... like, roughly, you know, last five
   7      years.
   8             Q.        Do you remember which subordinate was involved
   9      in that situation that you just described?
 10              A.        I do not know.
 11              Q.        Did Annmarie Reno ever speak to you about any
 12       other issues with Jenna Clark besides that counseling
 13       instance?
 14              A.        I don't think so, no.
 15              Q.        How did you respond to Annmarie Reno when she
 16       told you about that situation?
 17              A.        I felt that she handled it correctly.
 18              Q.        And how did Ms. Reno handle it?
 19              A.        She had a conversation with Jenna and coached
 20       her on what's appropriate to say or do, regarding
 21       whatever the situation was.
 22              Q.        And besides that instance that you described,
 23       you're not aware of any other counseling or discipline
 24       that was given to Ms. Clark; correct?
 25              A.        I'd read a letter in her file, at some point,

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   1      where she -- where Annmarie counseled her, that had to
   2      do with destruct -- getting rid of old uniforms and a
   3      directive that Annmarie had given her and Jenna didn't
   4      follow.
   5             Q.        When did you read that letter or document?
   6             A.        When going through the information I had for
   7      this -- you know, preparing for this deposition; just
   8      recently.
   9             Q.        Was that the first time you saw that letter?
 10              A.        Yes.
 11              Q.        Had Annmarie Reno ever discussed that incident
 12       with you, prior to you reading that letter?
 13              A.        No.
 14              Q.        Do you remember if that letter included the
 15       dates of when that incident occurred?
 16              A.        It did.
 17              Q.        And do you remember, roughly, when it was?
 18              A.        Roughly, it would have been -- I think we
 19       restructured that unit in, maybe, 2020; so it was when
 20       we restructured the voice unit.                             So I think it would
 21       have been in maybe '19 or '20.                            I didn't really pay
 22       attention to the date.
 23              Q.        Who was responsible for evaluating Ms. Clark's
 24       job performance?
 25              A.        Her supervisor, Annmarie Reno.

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   1             Q.        Do you remember when Ms. Clark was notified of
   2      her termination from the Lee County Sheriff's Office?
   3             A.        Well, I wrote the letter to her, August 15 of
   4      2021, and that was when she was instructed that her
   5      position was being eliminated.                            And so, in that letter,
   6      she was given a deadline.
   7             Q.        And what was that deadline?
   8             A.        It was September 3rd of 2021.
   9             Q.        And what did Ms. Clark have to do by that
 10       deadline?
 11              A.        She had to decide if she was going to retire or
 12       if she was going to continue employment, like with
 13       another job, by applying for another job.                               I should say,
 14       if she was going to separate employment; she didn't
 15       actually have to take the distribution and retire, but
 16       she could.
 17              Q.        And you said that you wrote that letter;
 18       correct?
 19              A.        Yes.
 20              Q.        And were you instructed to write that letter?
 21              A.        Yes.
 22              Q.        Were you instructed by Annmarie Reno?
 23              A.        Yes.
 24              Q.        What did Annmarie Reno say to you, when she
 25       instructed you to write the letter?

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   1             A.        She told me to notify Jenna, she told me when
   2      the dates were going to be, and she told me how she was
   3      going to be handled regarding her -- the administrative
   4      leave, her pay.
   5             Q.        Was that the first time that you learned that
   6      Jenna Clark's position was being eliminated?
   7             A.        Yes.
   8             Q.        What was your reaction when you learned that
   9      Jenna Clark's position was being eliminated?
 10              A.        I said, okay, and, you know, needed to know the
 11       details of the responsibilities of my position.
 12              Q.        Did Annmarie Reno tell you why Jenna Clark's
 13       position was being eliminated?
 14              A.        She said it was part of our Reduction in Force.
 15              Q.        Is that the first time that you had learned
 16       that a Reduction in Force was being conducted by the Lee
 17       County Sheriff's Office?
 18              A.        No.
 19              Q.        When did you learn that -- first learn that a
 20       Reduction in Force was being conducted by the Lee County
 21       Sheriff's Office?
 22              A.        It was happening for several years, when
 23       Sheriff Marceno took over; so I don't know how long
 24       after he took over, but it was during his tenure as
 25       sheriff.

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   1             Q.        Did Annmarie Reno ask you to draft a similar
   2      letter for any other employees at the Lee County
   3      Sheriff's Office?
   4             A.        I would have to say, yes.                         I didn't always
   5      report to Annmarie Reno, but I was -- I drafted others,
   6      whether Ann -- so whether it was Annmarie that asked or
   7      whoever my supervisor asked; this wasn't the first
   8      letter I'd drafted.
   9             Q.        Did you draft any other letters related to the
 10       Reduction in Force in 2021?
 11              A.        I believe so.               I believe in 2021, there were
 12       others that I did.                    I don't recall how many.
 13              Q.        Did you ever draft a letter related to the
 14       Reduction in Force for Anthony Ramsey?
 15              A.        No.         No, I don't recall that name being one of
 16       the letters I did.
 17              Q.        Did you ever draft a letter related to the
 18       Reduction in Force for Amy Delaquilla?
 19              A.        No.         I don't recall that one either.
 20              Q.        Did you ever write a letter related to a
 21       Reduction in Force for Jamie Bartz?
 22              A.        No.
 23              Q.        Did you ever write a letter related to the
 24       Reduction in Force for Marcia Sprankel?
 25              A.        No, I don't think so.

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   1             Q.        Did you ever write a letter related to the
   2      Reduction in Force for James Jones?
   3             A.        James Jones... I think James Jones still works
   4      there, so I guess that answer would be no.
   5             Q.        So, no, you do not recall writing a letter
   6      related to the Reduction in Force for James Jones?
   7             A.        No.
   8             Q.        Did you send that letter to Ms. Clark?
   9             A.        I did, yes.
 10              Q.        How did you send it to her?
 11              A.        I would have mailed it; I might have even
 12       emailed it to her.                  Because I remember speaking with her
 13       about it, so I might have emailed it to her.                                But I know
 14       I would have sent it through U.S. Mail.
 15              Q.        And you said you spoke with Ms. Clark about the
 16       letter, as well?
 17              A.        I did.
 18              Q.        And when did you speak with Ms. Clark about the
 19       letter?
 20              A.        When we were talking about other jobs or what
 21       her options -- she was asking, you know, what her
 22       options were; I remember having a conversation with her
 23       about what she was going to do.                             She was trying to
 24       decide.
 25              Q.        And did you initiate that phone call, or did

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   1      Ms. Clark initiate that phone call?
   2             A.        I don't recall.                 I don't want to guess.               I
   3      don't really remember.
   4             Q.        What was the purpose of that phone call with
   5      Ms. Clark after you sent the letter?
   6             A.        Well, I -- I believe that my discussions with
   7      Jenna all -- after Annmarie notified her of what was
   8      happening, all revolved around her -- what her options
   9      were going forward and her benefits and things like
 10       that; she was asking questions, and I was answering
 11       them.
 12              Q.        Did you explain to Ms. Clark what options were
 13       available to her?
 14              A.        I answered questions for her that she had; I
 15       wouldn't say that I went into a full explanation of all
 16       her options.                 But I was there answering her questions.
 17              Q.        Do you remember what specifically Ms. Clark
 18       asked you on that call?
 19              A.        She was asking about other positions that were
 20       open that she could apply for, and she was asking about
 21       her health benefits if she chose to separate; I recall
 22       her asking about her sick, vacation, and personal -- or
 23       accrued time, if she chose to take another -- you know,
 24       apply for another job, a different job than what she
 25       had.       That's all I really remember talking about.

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   1             Q.        And you said you did not discuss the full
   2      options that may be available to her; correct?
   3             A.        I discussed how she -- I gave her information
   4      as to how she would get that information; you know, I
   5      gave her -- I instructed her to contact Florida
   6      Retirement System; I would have given her the
   7      information on who to call to gather the information.                                          I
   8      did that.            I did not provide the details to her,
   9      directly.            I wanted her to educate herself on all of her
 10       options, so she could make the best choice.
 11              Q.        If Ms. Clark did not choose to retire early,
 12       what would happen to her position at the Lee County
 13       Sheriff's Office, based on the letter that you wrote?
 14                        MR. STEFANY:             Object to the form of the
 15              question.             You may answer it.
 16                        THE WITNESS:             Well, her position was being
 17              eliminated, and that didn't have anything to do
 18              with what she chose to do later.
 19       BY MR. MACDONALD:
 20              Q.        What do you mean by that?
 21              A.        You know, it was being eliminated, whether --
 22       and then, after that, what Jenna chooses to do, whether
 23       she decides to take another job or to separate
 24       employment, whether she chooses to take a distribution
 25       with her pension; those all were things that Jenna had

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   1      to decide.             But the position, itself, was being
   2      eliminated, regardless of that.
   3             Q.        Meaning that Ms. Clark's current position would
   4      no longer be available, regardless of what she chose;
   5      correct?
   6             A.        Correct.
   7             Q.        Did Ms. Clark discuss potential penalties for
   8      early retirement with you, on that phone call?
   9             A.        I remember discussing that, her asking about
 10       penalties, yes.                And that's when I was referring her to
 11       the Florida Retirement System and -- but, yes, she did
 12       mention penalties.
 13              Q.        And on that phone call with Jenna Clark, she
 14       also asked you about other positions at the Lee County
 15       Sheriff's Office that she could apply for?
 16              A.        Yes.        I don't know if it was the phone call or
 17       the in-person but, yes, we had that conversation.
 18              Q.        And what did you say, when she asked you about
 19       that?
 20              A.        I told her the positions that were open at that
 21       time.        I recall there being one or two; communications
 22       operator was one that we talked about that she would
 23       have been able to do.                     There might have been an auto
 24       mechanic, if I remember correctly.
 25              Q.        Do you remember if you spoke to Ms. Clark

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   1      regarding the pay rates for those positions?
   2             A.        I did speak to her about the pay rates for
   3      communications operator.
   4             Q.        Do you remember what that pay rate was?
   5             A.        I don't remember the exact amount, no.
   6             Q.        Was it more or less than Jenna Clark was making
   7      in her last role with the Lee County Sheriff's Office?
   8             A.        It was less.
   9             Q.        Was that also true for the auto mechanic
 10       position?
 11              A.        You know, I don't know that we discussed the
 12       auto mechanic that far.                      You had to qualify for the
 13       position so, you know, it wouldn't have been one that we
 14       pursued that far.
 15              Q.        What were the qualifications for the auto
 16       mechanic position?
 17              A.        I mean, you had to know how to work on cars and
 18       have experience working on cars.                             I don't recall the
 19       details, but I do know that that was one that -- the
 20       only one Jenna thought that she would have shown any
 21       interest in was the communications, so that's the one we
 22       talked about.
 23              Q.        What is an academy position?
 24              A.        Academy?         It's a schooling for law enforcement
 25       and corrections officers.

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   1             Q.        Was Ms. Clark eligible to apply for any academy
   2      positions, at the time of her position being eliminated?
   3             A.        She could have, yeah.
   4             Q.        And you said you have to be certified to have
   5      an academy position; is that correct?
   6             A.        No.         That's how you get certified; you have to
   7      go to the academy, in order to obtain -- in order to sit
   8      for the state exam, you have to successfully complete
   9      the academy, and then sit for a state exam to become
 10       certified.
 11              Q.        Was Ms. Clark certified, at the time her
 12       position was eliminated?
 13              A.        No.
 14              Q.        So unless Ms. Clark obtained additional
 15       education and training, she was not eligible to apply
 16       for any academy positions?
 17              A.        She was eligible to apply for academy; she
 18       wasn't eligible to actually do a law enforcement
 19       officer's job, until she graduated and passed the state
 20       exam.        That's what the purpose of an academy was for.
 21              Q.        Did you discuss the responsibilities of a
 22       communications call taker with Ms. Clark, when you spoke
 23       with her?
 24              A.        No.
 25              Q.        Did you discuss any of the specifics regarding

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   1      that position with Ms. Clark?
   2             A.        Other than pay, no.
   3             Q.        Did you tell Ms. Clark that any of the
   4      positions required memory or attention to detail?
   5             A.        No.
   6             Q.        Are you familiar with the position of
   7      communications call taker, generally?
   8             A.        Yes.
   9             Q.        And what does that position do with the Lee
 10       County Sheriff's Office?
 11              A.        They answer the phones and talk to people;
 12       9-1-1 calls, general calls to the Sheriff's Office,
 13       things like that.
 14              Q.        At the time of your phone call with Ms. Clark,
 15       did you believe that she was qualified for the position
 16       of communications call taker?
 17              A.        Yes.
 18              Q.        And at the time of your phone call with
 19       Ms. Clark, did you believe that she was qualified for
 20       the position of automotive mechanic?
 21              A.        No.
 22              Q.        Did you encourage Ms. Clark to apply to either
 23       position, the communications call taker or automotive
 24       mechanic?
 25              A.        I did encourage her to apply for the call taker

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   1      position, yes.
   2             Q.        If Ms. Clark chose to apply for the
   3      communications call taker position, what would that
   4      process have entailed?
   5             A.        She would have had an interview with the
   6      management team over in Communications, and they would
   7      have evaluated her for her ability to perform that job
   8      and determine if she was a good fit for that job; they
   9      would have made her an offer for that position, and we
 10       would have hired her for that position.
 11              Q.        Would Ms. Clark's accrued vacation or sick
 12       leave time have been affected if she had taken the role
 13       of communications call taker?
 14              A.        She would have still had it; she would have
 15       still had all that time, yeah.
 16              Q.        So it would not be impacted, if she had taken
 17       the communications call taker role?
 18              A.        Her accrual ranks would have remained the same,
 19       regardless of her position; they follow you as a person,
 20       whatever position you're in.
 21              Q.        Besides your conversation with Ms. Clark via
 22       phone, were there any other communications with
 23       Ms. Clark regarding the positions that were available
 24       for her to apply to?
 25              A.        Like I said, she sat in my office, at some

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   1      point, and we had a face-to-face conversation; other
   2      than that, I think, no, that's it.
   3             Q.        Did you discuss anything else with Ms. Clark,
   4      when you spoke to her in person on that occasion?
   5             A.        Not that I recall.
   6             Q.        If Ms. Clark chose to apply and received the
   7      position for communications call taker, would that
   8      impact her pension benefits?
   9             A.        Yes.
 10              Q.        How would they be impacted?
 11              A.        Well, she would have continued to earn years of
 12       service, so they would have gone up; the multiplier
 13       would have been affected by the years of service.
 14              Q.        Do you know what Ms. Clark ultimately decided
 15       to do in terms of her options for employment, after you
 16       spoke with her?
 17              A.        I do.
 18              Q.        And what did Ms. Clark do?
 19              A.        She chose to separate employment.
 20              Q.        And how do you know that?
 21              A.        She told me, and I saw the paperwork come
 22       through for her to do that.
 23              Q.        When did she tell you that she was choosing to
 24       retire early?
 25              A.        In that in-person -- in that face-to-face

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   1      conversation, she indicated that that was what she was
   2      going to do.                 She wasn't -- she wasn't really interested
   3      in doing the communications job; she indicated that that
   4      was not something she wanted to do.
   5             Q.        Did she tell you why she did not want that
   6      position, communications call taker?
   7             A.        No, I don't believe she did.                             I don't think she
   8      elaborated on that; she just said no.
   9             Q.        Did you speak with Ms. Clark after that
 10       conversation in person with her?
 11              A.        I don't -- I don't recall any specific
 12       conversations or the time frames.                                I really don't
 13       remember if I talked to her again.
 14                        MR. MACDONALD:                So those are all the questions
 15              I have for you in your capacity representing the
 16              Lee County Sheriff's Office.                            Mr. Stefany may have
 17              some questions for you.
 18                        MR. STEFANY:              I don't have any questions for
 19              the witness at this time.
 20                        MR. MACDONALD:                We will suspend the deposition
 21              at 11:15.
 22                        (Thereupon, the deposition was terminated at
 23       11:15 a.m.)
 24

 25

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   1                                      CERTIFICATE OF OATH
   2      STATE OF FLORIDA                )
          COUNTY OF ORANGE                )
   3
                           I, Julie S. Evans, Professional Court Reporter,
   4
          Notary Public, State of Florida, certify that DAWN
   5
          HEIKKILA appeared before me via Zoom on October 11,
   6
          2023, and was duly sworn.
   7
                           Witness my hand and official seal this 28th day
   8
          of December 2023.
   9

 10

 11                                       __________________________
                                          JULIE S. EVANS
 12                                       Professional Court Reporter
                                          Notary Public, State of Florida
 13                                       My Commission No. GG939756
                                          Expires: 1/21/2024
 14

 15

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   1                                   CERTIFICATE OF REPORTER
   2      STATE OF FLORIDA                )
          COUNTY OF ORANGE                )
   3
                           I, Julie S. Evans, Professional Court Reporter,
   4
          do hereby certify that I was authorized to and did
   5
          stenographically report the deposition of DAWN HEIKKILA;
   6
          that a review of the transcript was not requested; and
   7
          that the foregoing transcript, page number 1 through 43,
   8
          is a true and complete record of my stenographic notes.
   9

 10                        I further certify that I am not a relative,
 11       employee, attorney, or counsel of any of the parties,
 12       nor am I a relative or employee of any of the parties'
 13       attorneys or counsel connected with the action, nor am I
 14       financially interested in the action.
 15
                             Dated this 28th day of December 2023.
 16

 17

 18                                            ____________________________
                                               Julie S. Evans
 19                                            Professional Court Reporter
 20

 21

 22

 23

 24

 25

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 1250 (1)                        ability (1)                   Aside (1)              category (1)
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 2018 (2)                        activated (1)                 authorized (1)         choosing (1)
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 24 (1)                          administrative (1)            aware (6)              class (1)
 26 (1)                          affirm (1)                                           classified (4)
 28th (2)                        afforded (9)                  <B>                    clearly (1)
                                 age (5)                       back (2)               client (1)
 <3>                             agency (4)                    Bartz (1)              coached (1)
 3 (1)                           ago (1)                       base (1)               come (1)
 30 (5)                          agreed (1)                    based (4)              comes (1)
 324 (1)                         ahead (1)                     basically (2)          Commission (1)
 33131 (1)                       Allen (1)                     bathroom (1)           common (1)
 33606-4128 (1)                  amount (12)                   bay (1)                communications (15)
 3rd (1)                         amounts (1)                   beginning (1)          complete (2)
                                 Amy (3)                       BEHALF (4)             condition (4)
 <4>                             analyst (1)                   believe (11)           conducted (2)
 4 (2)                           and/or (3)                    benefit (1)            conducting (2)
 43 (1)                          Ann (1)                       benefits (35)          confusing (1)
 44 (1)                          Annmarie (24)                 best (2)               connected (1)
 45 (1)                          answer (7)                    binding (1)            contact (2)
                                 answered (1)                  Blue (1)               continue (2)
 <5>                             answering (2)                 break (2)              continued (1)
 5 (2)                           answers (2)                   Brickell (1)           conversation (9)
 50 (2)                          Anthony (1)                   briefly (1)            conversations (1)
 520 (1)                         anymore (1)                                          correct (12)
                                 Anyway (1)                    <C>                    corrections (1)
 <6>                             appearance (1)                calculation (1)        correctly (2)


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 counsel (5)                     discretionary (1)          evaluated (1)
 counseled (1)                   discuss (7)                evaluating (1)         <G>
 counseling (5)                  discussed (7)              Evans (5)              gather (1)
 Country (1)                     discussing (1)             event (3)              general (1)
 County (42)                     discussions (1)            Everybody (2)          generally (4)
 couple (2)                      distribution (4)           exact (2)              gesture (1)
 COURT (12)                      DISTRICT (3)               exactly (1)            getting (2)
 criteria (1)                    doctor (2)                 exam (3)               GG939756 (1)
 current (1)                     document (4)               Examination (3)        given (5)
                                 documents (4)              EXHIBIT (2)            glass (1)
 <D>                             doing (3)                  exist (1)              go (13)
 DATE (5)                        dollar (1)                 exists (1)             God (1)
 Dated (1)                       Donald (1)                 experience (1)         going (18)
 dates (2)                       Dr (1)                     Expires (1)            Good (2)
 DAVID (2)                       draft (4)                  explain (1)            gosh (1)
 DAWN (10)                       drafted (2)                explaining (1)         graduated (1)
 day (4)                         draw (5)                   explanation (1)        Group (1)
 days (11)                       drawn (1)                                         guess (3)
 deadline (3)                    duly (2)                   <F>                    guidelines (1)
 December (2)                    duties (1)                 face-to-face (2)
 decide (3)                                                 fall (2)               <H>
 decided (1)                     <E>                        familiar (3)           hand (3)
 decides (1)                     early (4)                  familiarize (1)        handbook (1)
 decision (3)                    earn (2)                   family (1)             handle (2)
 Defendant (2)                   educate (1)                far (3)                handled (2)
 Delaquilla (1)                  education (1)              feel (1)               happen (1)
 depend (2)                      effect (1)                 felt (2)               happening (3)
 depending (1)                   Either (3)                 file (1)               hard (1)
 depends (3)                     elaborated (1)             financially (1)        head (1)
 deposed (3)                     eligibility (1)            finish (2)             health (7)
 DEPOSITION (12)                 eligible (5)               first (7)              HEIKKILA (8)
 Derek (1)                       eliminated (9)             fit (1)                held (1)
 described (4)                   email (2)                  five (2)               help (1)
 designee (1)                    emailed (3)                FLORIDA (18)           hereto (1)
 destruct (1)                    employee (25)              FMLA (21)              Hey (1)
 detail (1)                      employees (9)              folks (1)              high (1)
 details (3)                     employer (1)               follow (2)             hired (1)
 determination (1)               employment (23)            followed (1)           hit (1)
 determine (3)                   encourage (2)              follows (1)            hold (1)
 determined (1)                  enforcement (2)            force (13)             home (1)
 determines (1)                  ensure (1)                 foregoing (1)          hours (6)
 dictate (1)                     entailed (1)               form (2)               HR (1)
 different (5)                   enter (3)                  formula (4)            Hurts (2)
 DIRECT (2)                      entered (1)                forth (1)              Hyde (1)
 directive (1)                   enters (1)                 forward (1)
 directly (3)                    entire (2)                 frames (1)             <I>
 Director (5)                    entitled (2)               front (2)              idea (3)
 discipline (3)                  ESQUIRE (2)                full (5)               immediate (3)
 disciplined (1)                 essentially (1)            further (1)            impact (3)


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Deposition of Dawn Heikkila 30(b)(6)                                              Jenna Clark v. Carmine Marceno

 impacted (2)                    know (64)                  memory (1)             Once (5)
 inaudible (1)                   knowledge (2)              mention (1)            ones (1)
 incident (2)                    known (1)                  mentioned (2)          open (2)
 included (1)                    KYLE (3)                   met (1)                operator (2)
 increase (2)                                               Miami (1)              opposed (1)
 increases (2)                   <L>                        MIDDLE (1)             options (8)
 INDEX (2)                       Law (4)                    Mm-hm (1)              ORANGE (2)
 indicated (2)                   lawsuit (1)                monitor (2)            order (2)
 inform (1)                      learn (2)                  monthly (1)
 information (11)                learned (3)                months (1)             <P>
 initial (1)                     leave (48)                 morning (1)            P.A (1)
 initiate (2)                    leaves (4)                 multiplier (4)         packet (1)
 in-person (2)                   Lee (41)                                          page (2)
 instance (4)                    left (5)                   <N>                    Paid (6)
 instances (1)                   length (2)                 name (3)               paperwork (7)
 instruct (1)                    letter (29)                necessary (1)          paragraph (1)
 instructed (5)                  letters (5)                need (9)               paragraphs (3)
 instructions (1)                level (1)                  needed (12)            Park (1)
 insurance (1)                   life (1)                   Norton (1)             part (9)
 interest (1)                    lifetime (1)               Notary (3)             particular (1)
 interested (2)                  limit (3)                  notebook (1)           parties (4)
 internal (2)                    link (1)                   notes (2)              passed (1)
 interview (1)                   listed (4)                 Notice (4)             pay (18)
 involve (1)                     log-in (1)                 notified (4)           paycheck (1)
 involved (6)                    long (3)                   notify (1)             penalties (5)
 involvement (1)                 longer (3)                 notifying (2)          penalty (7)
 involves (2)                    look (1)                   number (10)            pending (1)
 issues (1)                      looked (1)                 numbers (1)            pension (26)
                                 looking (1)                                       people (2)
 <J>                             looks (3)                  <O>                    percent (2)
 James (4)                                                  O-301 (1)              perform (1)
 Jamie (1)                       <M>                        OATH (3)               performance (1)
 January (1)                     Mac (1)                    object (2)             period (2)
 JENNA (41)                      MACDONALD (9)              obligation (1)         person (9)
 Jennifer (1)                    Mail (1)                   obtain (1)             personal (13)
 job (10)                        mailed (1)                 obtained (1)           personally (1)
 jobs (1)                        making (1)                 occasion (1)           pertaining (1)
 Jones (4)                       managed (1)                occurred (1)           ph (1)
 judge (1)                       Management (7)             October (3)            phone (15)
 Julie (5)                       manner (1)                 offer (1)              phones (1)
 July (2)                        MARCENO (5)                offered (1)            PLACE (3)
 jury (1)                        Marcia (1)                 offhand (1)            placed (3)
                                 Marie (1)                  Office (45)            Plaintiff (4)
 <K>                             marked (1)                 officers (1)           Plaintiff's (3)
 keeping (1)                     matter (1)                 officer's (1)          please (4)
 kept (1)                        mean (9)                   official (4)           PLLC (1)
 Key (1)                         meaning (2)                Oh (1)                 point (5)
 kind (6)                        mechanic (6)               Okay (13)              policy (5)
 knew (3)                        member (1)                 old (1)                position (33)


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 positions (8)                   refer (1)                   salary (3)             state (8)
 potential (2)                   reference (1)               sat (1)                STATES (2)
 practice (3)                    referring (1)               saw (2)                stating (1)
 prepare (1)                     reflect (1)                 says (1)               stayed (1)
 prepared (5)                    regarding (16)              scale (3)              STEFANY (7)
 preparing (1)                   regardless (3)              schooling (1)          stenographic (1)
 previously (3)                  regards (1)                 screen (1)             stenographically (1)
 prior (2)                       regulations (1)             scroll (1)             stipulated (1)
 problem (1)                     related (7)                 scrolled (1)           stock (1)
 process (3)                     relative (2)                seal (1)               strike (1)
 Professional (4)                relevant (1)                see (1)                submit (5)
 provide (1)                     remained (2)                seen (2)               submitted (1)
 provided (1)                    remember (18)               send (2)               submitting (1)
 Public (3)                      Reno (18)                   sent (5)               subordinate (1)
 pulled (1)                      rephrase (2)                separate (5)           subordinates (1)
 purchase (1)                    report (2)                  separated (3)          subpoena (1)
 purchased (2)                   Reporter (11)               September (1)          successfully (1)
 purchasing (3)                  represent (1)               serious (1)            Suite (2)
 purpose (2)                     representing (1)            service (15)           supervisor (15)
 pursued (1)                     request (13)                session (1)            supplies (1)
 put (1)                         requested (2)               share (2)              suppose (1)
                                 requesting (1)              shared (3)             Sure (9)
 <Q>                             requests (4)                shares (1)             suspend (1)
 qualifications (1)              require (4)                 sheet (1)              swear (1)
 qualified (2)                   required (6)                Sheriff (7)            sworn (2)
 qualify (4)                     requirement (3)             Sheriff's (41)         system (10)
 qualifying (4)                  respective (1)              short (1)
 question (6)                    respond (2)                 showed (1)             <T>
 questions (9)                   responses (2)               shown (1)              take (10)
                                 responsibilities (2)        shrug (1)              TAKEN (7)
 <R>                             responsibility (1)          sick (18)              taker (10)
 raise (1)                       responsible (1)             sickness (2)           takes (1)
 Ramsey (1)                      rest (1)                    signing (1)            talk (1)
 range (1)                       restructured (2)            similar (1)            talked (3)
 ranks (1)                       result (1)                  sit (2)                talking (4)
 rate (1)                        retire (6)                  situation (5)          Tampa (1)
 rates (2)                       retirement (11)             Smith (1)              team (1)
 reach (2)                       retires (1)                 solemnly (1)           tell (7)
 reached (1)                     returned (2)                sorry (2)              ten (1)
 reaction (1)                    review (1)                  South (1)              tenure (4)
 read (2)                        revolved (1)                speak (12)             term (1)
 reading (2)                     rid (1)                     speaking (3)           terminated (1)
 really (5)                      right (1)                   specific (2)           termination (1)
 reasonably (1)                  Risk (6)                    specifically (2)       terms (8)
 recall (18)                     role (3)                    specifics (1)          testified (1)
 receive (6)                     room (1)                    spoke (11)             testify (6)
 received (3)                    roughly (6)                 Sprankel (1)           testifying (1)
 record (2)                                                  start (2)              TESTIMONY (4)
 Reduction (12)                  <S>                         started (1)            Thank (1)


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 things (8)                      <W>
 think (13)                      wait (3)
 thought (1)                     waived (1)
 three (5)                       want (4)
 TIME (46)                       wanted (5)
 times (1)                       wants (2)
 title (1)                       warehousing (1)
 Today (7)                       water (1)
 today's (1)                     way (1)
 told (10)                       Wednesday (2)
 topic (1)                       weeks (1)
 topics (3)                      well (16)
 touch (1)                       went (2)
 training (1)                    we're (2)
 transcribe (1)                  whichever (1)
 transcript (3)                  willing (2)
 true (2)                        witness (6)
 truth (3)                       word (1)
 truthfully (1)                  work (6)
 try (1)                         worked (3)
 trying (1)                      working (3)
 twenty (1)                      works (1)
 Twenty-plus (1)                 write (5)
 twenty-year-plus (1)            writing (1)
 two (2)                         written (1)
 types (3)                       wrote (3)

 <U>                             <Y>
 U.S (1)                         yeah (6)
 ultimately (2)                  year (12)
 uncommon (1)                    years (26)
 understand (8)
 uniforms (2)                    <Z>
 unit (2)                        ZOOM (8)
 UNITED (2)
 upper (1)
 upset (1)
 use (9)
 uses (1)

 <V>
 vacation (14)
 value (1)
 VCS (6)
 vested (4)
 Vesting (1)
 videoconference (1)
 voice (1)



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                          EXHIBIT 1
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

     JENNA CLARK,

           Plaintiff,
                                                Case No. 2:22-cv-614-SPC-NPM
     v.

     CARMINE MARCENO, in his
     official capacity as Sheriff of Lee
     County, Florida,

           Defendant.
     _________________________________/

            PLAINTIFF’S NOTICE OF RULE 30(b)(6) DEPOSITION

          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal

    Rules of Civil Procedure, Plaintiff, JENNA CLARK (“Plaintiff”), shall take the

    deposition upon oral examination of Defendant, CARMINE MARCENO, in his

    official capacity as Sheriff of Lee County, Florida (“Defendant”), through one

    or more representatives who shall be designated to testify on Defendant’s

    behalf regarding all information known or reasonably available to Defendant

    with respect to the subject matter identified in Schedule A. This deposition

    shall commence on the following dates and times:

                         DATE/TIME                      LOCATION

               October 4th, 2023, at 11:00 AM             Via Zoom

              October 10th, 2023, at 10:00 AM             Via Zoom




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              October 11th, 2023, at 10:00 AM           Via Zoom

              October 17th, 2023, at 10:00 AM           Via Zoom

              October 18th, 2023, at 10:00 AM           Via Zoom

    The deposition will continue from day to day until completed before a notary

    public or other person authorized by law to administer oaths. The deposition

    will be conducted remotely through Everest Court Reporting and will be

    recorded stenographically.

    Dated: Miami, Florida              DEREK SMITH LAW GROUP, PLLC
           August 30, 2023,            Counsel for Plaintiff

                                       /s/ Kyle T. MacDonald
                                       Kyle T. MacDonald, Esq.
                                       Florida Bar No.: 1038749
                                       Derek Smith Law Group, PLLC
                                       701 Brickell Ave, Suite 1310
                                       Miami, FL 33131
                                       Tel: (305) 946-1884
                                       Fax: (305) 503-6741
                                       Kyle@dereksmithlaw.com




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                                SCHEDULE A
          LIST OF TOPICS FOR DEFENDANT’S REPRESENTATIVE
                  (hereinafter “LCSO” and/or “Defendant”)

    1.    Knowledge of each and every document provided by Defendant in
          response to Plaintiff’s discovery requests.

    2.    Knowledge related to Jenna Clark’s employment with Defendant,
          including compensation and benefits paid to Jenna Clark from 2018 until
          the last day of her employment.

    3.    Knowledge related to all of the benefits Jenna Clark received subject to
          her employment with Defendant, including pension plan payments, 401k
          benefits, profit sharing, health benefits, retirement plans, and any other
          benefit Jenna Clark received from 2018 until the last day of her
          employment.

    4.    Knowledge related to benefits that Defendant offered to employees in
          general, including the cash value of each benefit offered, when Defendant
          began to offer said benefits, and descriptions of benefit packages that
          Defendant included as part of the compensation employees received.

    5.    Knowledge related to the amount of money that Jenna Clark was paid
          from 2018 until the last day of her employment.

    6.    Knowledge related to the amount of money that similarly situated
          employees to Jenna Clark were paid.

    7.    Knowledge of the policies or procedures provided by and/or maintained
          by Defendant with regard to the prevention of discrimination and
          harassment in the workplace.

    8.    Knowledge of the policies or procedures provided by and/or maintained
          by Defendant with regard to the prevention of discrimination and
          harassment in the workplace.

    9.    Knowledge of the policies or procedures provided by and/or maintained
          by Defendant with regard to leave benefits, paid-time-off benefits, FMLA
          benefits, and any other leave of absences.
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    10.   Knowledge of any employee handbook for Defendant that was in effect
          at the time of Jenna Clark’s employment from 2018 until the last day of
          her employment.

    11.   Knowledge related to reports of discrimination, including but not limited
          to, reports of discrimination that were presented and/or made during the
          time period when Jenna Clark was employed with Defendant from 2018
          until the last day of her employment.

    12.   Knowledge related to Defendant’s policies and procedures for preventing
          discrimination and harassment in the workplace and investigating and
          engaging in corrective action when discrimination is discovered.

    13.   Knowledge related to the agency-wide reduction in force conducted by
          Defendant in or around 2021, including knowledge of the persons
          involved in deciding the positions to be eliminated, the criteria used to
          select positions to be eliminated, and the compensation and leave
          benefits for the employees/positions ultimately selected to be eliminated.

    14.   Knowledge related to Defendant’s fiscal budget and Defendant’s
          operations, including revenue, expenses, and any budgetary impacts of
          the agency-wide reduction in force conducted by Defendant in or around
          2021.

    15.   Knowledge regarding the following employees, including their dates of
          hire, job titles, knowledge of the amount of compensation paid to them,
          the amount of leave benefits available to them, the amount of leave they
          used for any reason (including FMLA leave, paid time off, or any other
          leave benefit offered), their age, their termination/resignation dates, and
          the reason for their termination/resignation:

             a. James Jones, Director of Fleet Management
             b. Jenna Clark, Director of Purchasing
             c. Anthony Ramsey, Communications Manager
             d. Amy DellAquilla, Community Liason
             e. Jami Bartz, Senior Services Coordinator
             f. Marsha Sprankel, Secretary of Traffic

    16.   Knowledge related to Annmarie Reno’s employment with Defendant,
          including but not limited to, her entire personnel file, dates of
          employment, job assignments, job titles, compensation, promotions,
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          benefits, discipline, and complaints of unlawful employment practices
          made against her.

    17.   Knowledge related to Dawn Heikkila’s employment with Defendant,
          including but not limited to, her entire personnel file, dates of
          employment, job assignments, job titles, compensation, promotions,
          benefits, discipline, and complaints of unlawful employment practices
          made against her.

    18.   Knowledge related to John Holloway’s employment with Defendant,
          including but not limited to, his entire personnel file, dates of
          employment, job assignments, job titles, compensation, promotions,
          benefits, discipline, and complaints of unlawful employment practices
          made against him.

    19.   Knowledge related to Jenna Clark’s employment with Defendant,
          including but not limited to, dates of employment, job assignments,
          compensation, promotions, discipline, benefits, job titles, and
          termination, from 2018 until the last day of her employment.

    20.   Knowledge related to the reason for Jenna Clark’s termination from her
          employment with Defendant.

    21.   Knowledge related to any communications between Defendant’s
          employees and Jenna Clark regarding Jenna Clark’s termination and
          alternative positions with Defendant offered to Jenna Clark, if any, from
          2018 until the last day of Jenna Clark’s employment.

    22.   Knowledge of all correspondence, writings, and documents sent by
          Defendant regarding disciplinary action or termination of Jenna Clark,
          if any, from 2018 until the last day of Jenna Clark’s employment.

    23.   Knowledge any investigations performed by Defendant regarding Jenna
          Clark’s reports of discrimination and harassment in the workplace or
          filing of administrative charges.

    24.   Knowledge related to any leave requested by Jenna Clark during her
          employment, including FMLA leave, paid time off, unpaid time off, and
          any other type of leave of absence offered by Defendant, from 2018 until
          the last day of Jenna Clark’s employment.
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    25.   Knowledge related to performance reviews and Defendant’s performance
          review policies, procedures, and protocols.

    26.   Knowledge as to Defendant’s Position Statement filed with the EEOC
          and the Answer filed in response to Plaintiff’s Complaint.

    27.   Knowledge as to Defendant’s document and record keeping proceed used
          to record or keep track of communications amongst Defendant’s
          employees, including but not limited to any electronic communication
          technology used by Defendant’s employees.

    28.   Knowledge related to performance reviews that Jenna Clark received or
          underwent during her employment with Defendant including dates of
          each performance review and the substance of each performance review,
          from 2018 until the last day of Jenna Clark’s employment.

    29.   Knowledge of organizational charts and lists identifying the divisions
          and management structure for Defendant.

    30.   Knowledge of charges filed with the Equal Employment Opportunity
          Commission and the Florida Commission on Human Relations from
          January of 2016 through December 31, 2022.
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                            CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing

    document is being served on August 30, 2023, on all counsel of record on the

    service list below via e-mail transmission.


                                                  By: /s/ Kyle T. MacDonald
                                                     Kyle T. MacDonald, Esq.




                                   SERVICE LIST

    ALLEN, NORTON & BLUE, PA

    David J. Stefany
    324 S. Hyde Park Ave
    Suite 225
    Tampa, FL 33606
    813/251-1210
    Fax: 813/253-2006
    Email: dstefany@anblaw.com

    Maelyn Marie Morrison
    324 S. Hyde Park Ave., Suite 225
    Tampa, FL 33606
    813-251-1210
    Fax: 813-253-2006
    Email: mmorrison@anblaw.com

    Counsel for Defendant




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                          EXHIBIT 9
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  From: Heikkila, Dawn <                          >
  Sent: Thursday, June 18, 2020 12:47 PM EDT
  To: Clark, Jenna <JClark@sheriffleefl.org>; Lehman, Shannon <                                                                               >
  Subject: RE: from policy Chapter 22
  Full-time members are required to work a full-time schedule or account for hours missed by
  using accrued leave time. If a member must be absent from work for whatever reason, they must
  use the appropriate amount of accrued leave time that would bring their combined work and
  leave time to the scheduled 80 or 84 hours required for the pay period. The employee may not
  choose to take time missed from work as “Leave without pay” unless it is approved FMLA. If
  the member has exhausted all accrued leave time, the missed time then becomes leave without
  pay. A pattern of abuse may be cause for disciplinary action.



                                           Dawn Heikkila, Director
                                           Lee County Sheriff's Office
                                           Desk:

                                           www.sheriffleefl.org




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  applicable law. If the reader of this email is not the intended recipient or the employee or agent responsible to deliver it to the intended recipient, you are hereby notified that any
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                                                                                                                                                             LCSO/Clark
                                                                                                                                                             DEF004341
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                          EXHIBIT 10
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  From: Heikkila, Dawn <
  Sent: Thursday, August 12, 2021 1:16 PM EDT
  To: Clark, Jenna <JClark@sheriffleefl.org>
  Subject: RE: message
  Ok…well we are so busy right now that I am going to hold off on the FMLA…if you end up needing more time that that just let me
  know and I will have to do the FMLA paperwork.

  Thanks and I wish you a speedy recovery!!




                                  Dawn Heikkila, Director
                                  Lee County Sheriff's Office
                                  Desk:
                                  DHeikkila@sheriffleefl.org
                                  www.sheriffleefl.org




  From: Clark, Jenna <JClark@sheriffleefl.org>
  Sent: Thursday, August 12, 2021 1:06 PM
  To: Heikkila, Dawn
  Subject: RE: message

  18-20
  24-27
  Total of 7 days.


  Jenna Clark | Purchasing Director
  Desk: 239-477-1313
  Purchasing
  Lee County Sheriff's Office
  JClark@sheriffleefl.org | www.sheriffleefl.org
  From: Heikkila, Dawn
  Sent: Thursday, August 12, 2021 1:04 PM
  To: Clark, Jenna <JClark@sheriffleefl.org>
  Subject: RE: message

  Ok…if you are out more than a week I will forward it to Amy for FMLA…do you know how long you plan to be out?



                                  Dawn Heikkila, Director
                                  Lee County Sheriff's Office
                                  Desk: 239-477-1132
                                  DHeikkila@sheriffleefl.org
                                  www.sheriffleefl.org



  From: Clark, Jenna <JClark@sheriffleefl.org>
  Sent: Thursday, August 12, 2021 12:26 PM
  To: Heikkila, Dawn
  Subject: message

  Hi Dawn –

  I called you to let you know I have surgery scheduled on the 18th - Annmarie said to let you know, she already approved my time.

  Thanks!
  Jenna

  Jenna Clark | Purchasing Director
  Desk: 239-477-1313
  Purchasing
  Lee County Sheriff's Office
  JClark@sheriffleefl.org | www.sheriffleefl.org

  ***IMPORTANT MESSAGE***
                                                                                                            LCSO/Clark
                                                                                                            DEF001294
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                                                                                                                                                             LCSO/Clark
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